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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

  In Re:                                           CASE NO. 23-61742-BEM

  ARC MANAGEMENT GROUP, LLC,                       CHAPTER 11

                Debtor.


              MOTION FOR APPROVAL OF SETTLEMENT AGREEMENT

        The above captioned debtor and debtor-in-possession ARC Management Group, LLC

 (“Debtor”), pursuant to Rule 9019 of the Federal Rules of Bankruptcy Procedure (“Rule 9019”),

 files this Motion for Approval of Settlement and Release Agreement (the “Motion”) by and

 between Debtor, Mrs. Thresa Wilson, Mr. William Wilson and Green Note Capital Partners SPV,

 LLC (the “Settlement Agreement”). In support hereof, Debtor shows as follows:

                           JURISDICTION, VENUE, AND BACKGROUND

        1.     Debtor filed voluntary petition for relief under chapter 11 of title 11 of the United

 States Bankruptcy Code (the “Bankruptcy Code”) on November 28, 2023 (the “Petition Date”).

        2.     No creditors’ committee has been appointed in this case and no trustee or examiner

 has been appointed. Debtor remains debtor in possession.

        3.     This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157(b) and

 1334. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. This matter is a core proceeding

 pursuant to 28 U.S.C. § 157(b). Debtor consents to the entry of final orders or judgments by the

 Bankruptcy Court.

        4. Prior to the Petition Date, Debtor and Green Note Capital Partners SPV, LLC (“Green

 Note”) entered into certain merchant cash advance agreements whereby Green Note provided cash

 advances to Debtor. Green Note recorded one Uniform Commercial Code Financing Statement



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 on August 17, 2023 against Debtor and four Uniform Commercial Code Financing Statements on

 August 18, 2023 (the “UCC-1s”) against Debtor, ABI Holding LLC, Wilzara Property

 Management Group LLC, and ARC Management Group of Georgia, LLC and asserted a security

 interest in all personal property of every kind and nature of Debtor, ABI Holding LLC, Wilzara

 Property Management Group LLC and ARC Management Group of Georgia, LLC (collectively,

 the “Cash Advance”).

        5. Prior to the Petition Date, disputes arose between Debtor and Green Note regarding the

 Cash Advance.

        6. Prior to the Petition Date, Green Note filed a lawsuit against Debtor and the Wilsons

 styled Green Note Capital Partners SPV LLC v. ARC Management Group, LLC, DBA ARC

 Management Group and William D. Wilson and Thresa L. Wilson, Case No. 525655/2023,

 Supreme Court, Kings County, New York (the “New York Action”).

        7. Debtor, William Wilson and Thresa Wilson asserted counterclaims against Green Note

 and others in the New York Action, including - KYF Global Partners, LLC, Funding Club, United

 Secured Capital Group LLC, United Secured Capital LLC, Isaac Kassab, Freddy Kassab, and

 Gabriel Mann.

        8. In the course of the Bankruptcy Case, certain disputes have arisen among Debtor and

 Green Note regarding, among other things, the priority of the security interests asserted by Green

 Note and others and to resolve these disputes and other issues regarding creditors Debtor believed

 may assert security interests, on February 9, 2024, Debtor filed an adversary proceeding styled

 ARC Management Group, LLC v. Flock Financial, LLC et al., Adv. Proc. No. 24-05018-bem

 (Bankr. N.D. Ga.) (the “Adversary Proceeding”).




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           9.    Green Note timely filed an Answer and Affirmative Defenses to Debtor’s Complaint

 in the Adversary Proceeding.

           10.      Debtor, William Wilson, and Thresa Wilson and Green Note have conferred and

 finalized an agreement resolving the New York Action and the Adversary Proceeding and all

 claims therein. The terms of the agreement are incorporated into a settlement agreement (the

 “Settlement Agreement”), a true and correct copy of which is attached hereto as Exhibit A.1

                                                RELIEF REQUESTED

           11.      By this Motion, Debtor requests that the Court enter an order substantially in the

 form of the proposed order attached hereto as Exhibit B approving the Settlement Agreement and

 granting related relief.

                                         BASIS FOR RELIEF REQUESTED

           12.      Debtor requests that the Court approve the Settlement Agreement pursuant to Rule

 9019. Under Rule 9019, the Court has discretionary authority to approve a compromise of a

 controversy or dispute. See Protective Comm. for Independent Stockholders of TNT Trailer Ferry,

 Inc. v. Anderson, 390 U.S. 414, 424 (1968); Continental Airlines, Inc. v. Airline Pilots Ass'n Infl.

 (In re Continental Airlines, Inc.), 907 F.2d 1500, 1508 (5th Cir. 1990).

           13.      Whether to approve a proposed compromise is a matter within the sound discretion

 of the Bankruptcy Court and pre-trial settlements are favored by the courts. See In re Munford,

 Inc., 97 F.3d 449, 455 (11th Cir. 1996); In re AWECO, Inc., 725 F.2d 293, 297 (11th Cir. 1984);

 In re Grot, 291 B.R. 204, 208 (Bankr. M.D. Ga. 2003). Bankruptcy settlements are a “normal part

 of the bankruptcy process” and “desirable and wise methods of bringing to close proceedings

 otherwise lengthy, complicated and costly.” TNT Trailer, 390 U.S. at 424 (1986).



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      All capitalized terms not defined herein shall have the meanings ascribed to them in the Settlement Agreement.


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         14.     According to the Eleventh Circuit Court of Appeals, in deciding whether to approve

 a proposed settlement, a bankruptcy court should evaluate: (a) the probability of success in

 litigation, with due consideration for the uncertainty of the facts and the law; (b) the difficulties, if

 any, to be encountered in collecting on a judgment; (c) the complexity and likely direction of the

 litigation and any attendant expense, inconvenience and delay; and (d) the paramount interest of

 the creditors and a proper deference to their reasonable use. See In re Justice Oaks II, Ltd., 898

 F.2d 1544, 1549 (11th Cir. 1990).

         15.     Whether a proposed settlement is a product of an arms-length negotiation is a factor

 bearing on the wisdom of the compromise. In re Cajun Elec. Power Co-Op, Inc., 119 F.3d 349,

 356 (5th Cir. 1997); In re Foster Mortgage Corp., 68 F.3d 914, 918 (5th Cir. 1995). Additionally,

 determining whether the settlement is in the best interest of the estate is an important consideration.

 See, e.g., Cajun Elec., 119 F.3d at 356. Generally, the role of the Bankruptcy Court, when

 evaluating a proposed settlement is not to decide the issues in dispute by conducting a mini-trial.

 Instead, the bankruptcy court should determine whether the settlement is fair and equitable as a

 whole. See, e.g., Cajun Elec., 119 F.3d at 355-56; In re Joiner, 319 B.R. 903, 907 (Bankr. M.D.

 Ga. 2004); Grot, 291 B.R. at 208 (2003).

         16.     Here, Debtor has considered (i) the cost of litigation, (ii) the risk of not confirming

 a plan, (iii) the temporal and organizational strain on Debtor caused by the involvement of its

 officer, William Wilson, in the litigation, and (iv) other factors justifying the prompt and efficient

 resolution of the matter. Debtor has determined that the terms are fair to both parties, and that the

 resolution of the New York Action and the Adversary Proceeding resolves the remaining litigation

 involved in this Debtor’s case.




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        17.     Debtor believes that approval of the Settlement Agreement is in the best interest of

 the estate and creditors and will be beneficial to the restructuring process.

        WHEREFORE, having filed this Motion, Debtor prays the Motion be granted, the

 Settlement Agreement be approved, and that the Court grant Debtor such other and further relief

 as it may deem just and proper.


 Dated: October 30, 2024                        ROUNTREE LEITMAN KLEIN &GEER, LLC

                                                /s/ Ceci Christy
                                                Ceci Christy, Ga. Bar No. 370092
                                                Century Plaza I
                                                2987 Clairmont Road, Suite 350
                                                Atlanta, Georgia 30329
                                                (404) 584-1238 Telephone
                                                cchristy@rlkglaw.com
                                                Attorneys for Debtor




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                                     Exhibit A

                                Settlement Agreement




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                        SETTLEMENT AND RELEASE AGREEMENT

         THIS SETTLEMENT AND RELEASE AGREEMENT (the “Agreement”) is entered
 into this 30th day of October 2024, by and between ARC MANAGEMENT GROUP, LLC, in its
 capacity as debtor-in-possession (“Debtor”), WILLIAM WILSON and THRESA WILSON as
 principals of Debtor (“Wilsons”), and GREEN NOTE CAPITAL PARTNERS SPV, LLC (“Green
 Note”) The foregoing are collectively referred to herein as the “Parties” and each a “Party.”

                                            RECITALS

         WHEREAS, on November 28, 2023 (the “Petition Date”), Debtor filed a voluntary
 petition for relief under chapter 11 of title 11, of the United States Code (the “Bankruptcy Code”)
 in the United States Bankruptcy Court for the Northern District of Georgia (the “Bankruptcy
 Court”), initiating the bankruptcy case captioned In re ARC Management Group, LLC, Case No.
 23-61742-bem (the “Bankruptcy Case”);

       WHEREAS, Green Note filed Proof of Claim 8 in the Bankruptcy Case in the amount of
 $522,167.37 (the “Claim”);

        WHEREAS, prior to the Petition Date, Debtor and Green Note entered into certain
 merchant cash advance agreements whereby Green Note provided cash advances to Debtor. Green
 Note recorded one Uniform Commercial Code Financing Statement on August 17, 2023 against
 the Debtor and four Uniform Commercial Code Financing Statements on August 18, 2023 (the
 “UCC-1s”) against Debtor, ABI Holding LLC, Wilzara Property Management Group LLC, and
 ARC Management Group of Georgia, LLC and asserted a security interest in all personal property
 of every kind and nature of Debtor, ABI Holding LLC, Wilzara Property Management Group LLC
 and ARC Management Group of Georgia, LLC (collectively, the “Cash Advance”);

        WHEREAS, prior to the Petition Date, disputes arose between Debtor and Green Note
 regarding the Cash Advance;

       WHEREAS, prior to the Petition Date, Green Note filed a lawsuit against Debtor and the
 Wilsons styled Green Note Capital Partners SPV LLC v. ARC Management Group, LLC, DBA
 ARC Management Group and William D. Wilson and Thresa L. Wilson, Case No. 525655/2023,
 Supreme Court, Kings County, New York (the “New York Action”).

         WHEREAS, Debtor and the Wilsons asserted counterclaims against Green Note and others
 in the New York Action;

        WHEREAS, in the course of the Bankruptcy Case, certain disputes have arisen among
 Debtor and Green Note regarding, among other things, the priority of the security interests asserted
 by Green Note and others and to resolve these disputes and other issues regarding creditors Debtor
 believed may assert security interests, on February 9, 2024, Debtor filed an adversary proceeding
 styled ARC Management Group, LLC v. Flock Financial, LLC et al., Adv. Proc. No. 24-05018-
 bem (Bankr. N.D. Ga.) (the “Adversary Proceeding”);



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       WHEREAS, Green Note timely filed an Answer and Affirmative Defenses to Debtor’s
 Complaint in the Adversary Proceeding;

        WHEREAS, other defendants in the Adversary Proceeding entered into various financing
 agreements with Debtor prior to the Petition Date, including seven (7) Agreements of Sale of
 Future Receipts and/or Agreements for the Purchase and Sale of Future Receipts which the
 Libertas Parties, not being a party to this Agreement, contend were outstanding as of the Petition
 Date, and three (3) Business Loan and Security Agreements and recorded Uniform Commercial
 Code Financing Statements that are claimed to have been recorded prior to Green Note’s financing
 statements; and

         WHEREAS, the Parties to this Agreement have reached a settlement and compromise of
 all claims and counterclaims asserted or which could have been asserted by said Parties, one
 against the other, arising out of or related to the Cash Advance, the New York Action, the Claim,
 the Adversary Proceeding, and the Bankruptcy Case;

        NOW THEREFORE, for and in consideration of the promises, performance of the terms
 and conditions recited herein, the releases contained herein and other good and valuable
 consideration, the receipt and adequacy of which are hereby acknowledged, the Parties hereby
 agree as follows:

                                          AGREEMENT

        1.      Recitals. The foregoing recitals are confirmed by the Parties as true and correct
 and are incorporated herein by reference. The recitals are a substantive, contractual part of this
 Agreement.

        2.      Bankruptcy Court Approval; Effective Date.

        (a) The Parties acknowledge that this Agreement is subject to the Bankruptcy Court’s
            approval pursuant to Fed. R. Bankr. P. 9019 (“Rule 9019”) and, notwithstanding
            anything else contained herein, shall not be effective until an order granting such
            approval has been entered by the Court and has become final and nonappealable.

        (b) Within three (3) days after the date on which all Parties have executed this Agreement,
            Debtor shall file a motion with the Bankruptcy Court for entry of an Order approving
            the terms of this Agreement.

        (c) The “Effective Date” of this Agreement is the date that is one (1) day after an order
            approving this Agreement becomes final and non-appealable pursuant to Fed. R. Bankr.
            P. 8002.

         3.     Settlement Amount and Payment. The Parties to this Agreement hereby agree to
 settle and compromise any and all claims and counterclaims asserted or which could have been
 asserted by the Parties, one against the other, arising out of or related to the Cash Advance, the
 New York Action, the Claim, the Adversary Proceeding, the Claim, the Cash Advance, and the
 Bankruptcy Case for $50,000.00 (the “Settlement Amount”). The Wilsons shall pay Green Note
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 the Settlement Amount within ninety (90) days after the Court’s entry of the Rule 9019 Order.
 Time is of the essence as to the tendering of said Settlement Amount in full. In the event of a breach
 of this Agreement with respect to full and timely payment of this Settlement Amount, Green Note
 shall be entitled to full payment of the aforesaid advance of $522,167.37.

          4.     Cancellation of UCC-1s Against Debtor Affiliated Entities. Within thirty (30)
 days of tendering of the Settlement Amount in full by the Wilsons to Green Note, Green Note shall
 cause to be released or cancelled all Green Note UCC-1 filings against Debtor and all entities
 affiliated with Debtor, specifically those UCCs recorded against ABI Holdings, WilZara Property
 Management, LLC, and ARC Management Group of Georgia LLC.

         5.    Dismissal of the New York Action. Within ten (10) days of the tendering of the
 Settlement Amount in full by the Wilsons to Green Note, Green Note shall dismiss with prejudice
 the New York Action and Debtor and the Wilsons shall dismiss with prejudice their counterclaims
 against Green Note and all other named Defendants in the New York Action.

        6.      Definitions Applicable to Releases.

        (a) “Debtor Released Parties” and “Debtor Releasors” means and refers to Debtor,
            Debtor’s estate, and their respective past, present, and future affiliates, members,
            managers, officers, directors, shareholders, partners, administrative agents, servicers,
            agents, employees, attorneys, heirs, assigns, representatives, predecessors and
            successors.

        (b) “Wilson Released Parties” and “Wilson Releasors” means and refers to, individually
            and collectively, William Wilson and Thresa Wilson and their respective administrative
            agents, servicers, agents, employees, attorneys, heirs, assigns, and representatives and
            ABI Holdings, WilZara Property Management, LLC, and ARC Management Group of
            Georgia LLC.

        (c) “Green Note Released Parties” and “Green Note Releasors” means and refers to Green
            Note, together with its past, present, and future affiliates, members, managers, officers,
            directors, shareholders, partners, administrative agents, servicers, agents, employees,
            attorneys, heirs, assigns, representatives, predecessors and successors including KYF
            Global Partners, LLC, Funding Club, United Secured Capital Group LLC, United
            Secured Capital LLC, Isaac Kassab, Freddy Kassab, Gabriel Mann


         7.      Release by Debtor. On the Effective Date and subject to full compliance with all
 the terms of this Agreement, each of Debtor Releasors shall be deemed to release, acquit, and
 forever discharge each of the Green Note Released Parties as specified in this Agreement from any
 and all claims, causes of action, suits, damages, judgments, liens, losses, expenses, recoupments,
 and demands whatsoever in law and in equity, contract or tort that Debtor Releasors had, now
 have, or may later have or claim to have against any of the Green Note Released Parties,
 individually or collectively, whether known or unknown, asserted or unasserted, fixed or
 contingent, liquidated or unliquidated, now accrued or that may accrue hereafter, that arose or
 transpired at any time from the beginning of time through the Effective Date, asserted in, arising
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 from or in any way related to the New York Action, the Bankruptcy Case, the Adversary
 Proceeding, the Claim, the Cash Advance, and the business operations of Debtor Releasors.
 Debtor Releasors covenant and agree not to sue or take any action against any of the Green Note
 Released Parties for any claim released under this Paragraph 7.

         8.     Release by Green Note. On the Effective Date and subject to full compliance with
 all of the terms this Agreement, each of the Green Note Releasors shall be deemed to release,
 acquit, and forever discharge each of Debtor Released Parties and Wilson Released Parties, ABI
 Holdings, WilZara Property Management, LLC, and ARC Management Group of Georgia LLC,
 from any and all claims, causes of action, suits, damages, judgments, liens, losses, expenses,
 recoupments, and demands whatsoever in law and in equity, contract or tort that the Green Note
 Releasors had, now have, or may later have or claim to have against any of the Debtor Released
 Parties and Wilson Released Parties, individually or collectively, whether known or unknown,
 asserted or unasserted, fixed or contingent, liquidated or unliquidated, now accrued or that may
 accrue hereafter, that arose or transpired at any time from the beginning of time through the
 Effective Date, asserted in, arising from or in any way related to the New York Action, the
 Bankruptcy Case, the Claim, the Cash Advance, and the Adversary Proceeding. The Green Note
 Releasors covenant and agree not to sue or take any action against any of Debtor Released Parties
 or Wilson Released Parties for any claim released under this Paragraph 8. Further, the Green Note
 Releasors agree that they do not have an allowed claim, whether secured or unsecured, in Debtor’s
 Bankruptcy Case.

          9.      Release by Wilsons. On the Effective Date and subject to full compliance with the
 all of the terms of this Agreement, each of the Wilson Releasors shall be deemed to release, acquit,
 and forever discharge each of the Green Note Released Parties including KYF Global Partners,
 LLC, Funding Club, United Secured Capital Group LLC, United Secured Capital LLC, Issac
 Kassab, Freddy Kassab, Gabriel Mann from any and all claims, causes of action, suits, damages,
 judgments, liens, losses, expenses, recoupments, and demands whatsoever in law and in equity,
 contract or tort that the Wilson Releasors had, now have, or may later have or claim to have against
 any of the Green Note Released Parties, individually or collectively, whether known or unknown,
 asserted or unasserted, fixed or contingent, liquidated or unliquidated, now accrued or that may
 accrue hereafter, that arose or transpired at any time from the beginning of time through the
 Effective Date, asserted in, arising from or in any way related to the New York Action, the
 Bankruptcy Case, the Claim, the Cash Advance, and the Adversary Proceeding. The Wilson
 Releasors covenant and agree not to sue or take any action against any of the Green Note Released
 Parties for any claim released under this Paragraph 9.

        10.     Representations and Warranties. Each of the Parties makes the following
 representations and warranties, and agrees and acknowledges that these and all other
 representations and warranties contained in this Agreement are material to this Agreement:

        (a) Each person signing this Agreement on behalf of a Party is fully competent to execute
            this Agreement and has all necessary authority to bind the Party on whose behalf they
            are signing to the promises, covenants, representations, warranties, terms and
            conditions set forth herein.


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         (b) This Agreement is not being made or entered into with the actual intent to hinder, delay
             or defraud any entity or person.

         (c) No representations regarding the nature and extent of legal liability of any of the Parties
             has induced any Party to enter into this Agreement.

         (d) Each of the Parties is the current respective owner of the claims released herein, and
             there has been no assignment, sale, or other transfer or disposition of any interest
             therein prior to the Effective Date.

         (e) Each Party has been represented by counsel in the negotiation of this Agreement and
             the Agreement has been reviewed by the Parties’ respective counsel.

         (f) The consideration given and received by each Party in respect of the promises,
             covenants, and obligations made under this Agreement represents reasonably
             equivalent value therefor.

         11.    Attorneys’ Fees and Expenses. Each Party shall bear their own attorneys’ fees
 and expenses in connection with this Agreement and the subject matter thereof. Notwithstanding
 the foregoing, in the event of a breach of this Agreement, the aggrieved party shall have the right
 to seek and recover reasonable attorneys’ fees and expenses including courts costs against any
 breaching party incurred in any matter related to the enforcement of this Agreement.

         12.    Governing Law. This Agreement shall be interpreted and governed by the laws of
 the State of New York.

         13.    Jurisdiction of Bankruptcy Court. The Parties hereby acknowledge and agree
 that the Bankruptcy Court shall have exclusive jurisdiction to enforce and adjudicate any dispute
 arising under this Agreement. The provisions of this Paragraph 13 shall survive the closure of the
 Bankruptcy Case and/or the termination of this Agreement. Notwithstanding the foregoing, this
 Agreement shall remain fully binding on all the Parties hereto, including but not limited to in any
 pending or subsequently filed judicial proceeding.

         14.     Drafting. This Agreement was negotiated and drafted with the full participation of
 the Parties and their respective counsel. In the event that it is determined that any ambiguity exists
 in this Agreement, any such ambiguity shall not be resolved or otherwise construed against any
 particular Party by virtue of the fact that it participated in the drafting, but rather, shall be resolved
 by a fair reading of the intent of the Parties as established herein.

         15.     Successors and Assigns. The Parties agree that the terms, covenants, and
 obligations set forth herein shall inure to the benefit of and be binding upon each of their respective
 agents, attorneys, officers, directors, members, managers, employees, representatives,
 administrators, executors, successors and assigns.

         16.    Modifications. Any future waiver, alteration, amendment or modification of any
 of the provisions of this Agreement shall not be valid or enforceable unless in writing and signed

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 by all Parties, it being expressly agreed that this Agreement cannot be modified orally, by course
 of dealing or by implied agreement.

          17.    Severance. If any provision of this Agreement is found to be contrary to law or
 void, the remainder of the Agreement shall be considered valid and enforceable and shall remain
 in full force and effect and shall in no way be affected, impaired, or invalidated.

        18.    Multiple Counterparts. This Agreement may be signed in multiple counterparts,
 each of which will be deemed an original and all of which taken together will constitute one
 instrument binding upon the Parties, notwithstanding that each Party is not a signatory to the same
 counterpart. Any scanned PDF or facsimile counterparts shall be considered originals.

        19.     Strict Compliance. The failure of any Party at any time or times to demand strict
 performance by the other Parties of any of the terms, covenants, or conditions set forth herein shall
 not be construed as a continuing waiver or relinquishment thereof. Any Party may, at any time,
 demand strict and complete performance by the other Parties of the terms, covenants, and
 conditions of this Agreement.

        20.   No Admission. Nothing herein shall be deemed or construed to be an admission
 or acknowledgment of any liability by or of any Party.

         21.      Entire Agreement. The Parties agree that this Agreement sets forth the entire
 agreement of the Parties in relation to its subject matter and that no prior oral or written matters
 extrinsic to this Agreement shall have any force or effect.


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                                                  Exhibit B


                                              Proposed Order




                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

     In Re:                                              CASE NO. 23-61742-BEM

     ARC MANAGEMENT GROUP, LLC,                          CHAPTER 11

                    Debtor.


                            ORDER GRANTING
        MOTION FOR APPROVAL OF SETTLEMENT AND RELEASE AGREEMENT

           Upon consideration of the motion (the “Motion”)1 of Debtor for Approval of its Settlement

 and Release Agreement (the “Settlement Agreement”) regarding the Cash Advance made to

 Debtor by Green Note Capital Partners SPV, LLC (“Green Note”); and this Court having

 jurisdiction to consider the Motion and the relief requested therein in accordance with 28 U.S.C.

 §§ 157 and 1334; and consideration of the Motion and the relief requested therein being a core

 proceeding under 28 U.S.C. § 157(b); and venue being proper before this Court under 28 U.S.C.

 §§ 1408 and 1409; the Court having considered the Motion and all other matters of record,


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     Capitalized terms not defined herein shall have the meaning ascribed to them in the Motion.
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 including the lack of a response to the Motion; and based on the forgoing, no further notice or

 hearing is required; the Court finds that good cause exists to grant the relief requested in the

 Motion. Accordingly,

        It is hereby ORDERED as follows:

        1.      The Motion is GRANTED.

        2.      Debtor is authorized to enter into the Settlement Agreement attached to the Motion

 as Exhibit A, which is hereby APPROVED.

        3.      This Order shall be effective and enforceable immediately upon entry hereof.

        4.      Debtor is authorized and empowered to take all actions necessary to implement the

 relief granted in this Order.

        5.      This Court shall retain jurisdiction with respect to all matters arising from or related

 to the implementation or interpretation of this Order.

                                     ### END OF ORDER ###

 Prepared and presented by:

 ROUNTREE LEITMAN KLEIN & GEER, LLC

 /s/ Ceci Christy
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 Attorneys for Debtor
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 Distribution List

 Ceci Christy
 ROUNTREE LEITMAN KLEIN &GEER, LLC
 Century Plaza I
 2987 Clairmont Road, Suite 350
 Atlanta, Georgia 30329

 Office of the U.S. Trustee
 362 Richard B. Russell Bldg.
 75 Ted Turner Drive, SW
 Atlanta, GA 30303
